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IN THE UN\TED sTATES DISTRICT COURT

FOR THE WESTERN DlsTRlCT 0F TENNESSEE _ ,,
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UN!TED STATES OF AMERlC/-\

\/S. NO. 05 lOO36-T

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FEL}C|ANNA T. BROWN

MOTION TO ACCEPT LATE FILED TIONS

 
 
 
   
   
  

COMES NOW, the Defendant and would respectf y request this Court to allow accept
Defendants’ late filed motions in the above styled case. S grounds, the Defendant would state

as follows:

l. Defendant did not received disco ery until June 15, 2005.

2. Defendant’s counsel has h to conduct interviews with many individuals to
determine which motio need to be filed.

   

Since Defen.dant’ rraigmnent, counsel for the Defendant has had an extremely
including a brief to the Sixth Circuit Court of Appeals.

Respectfully submitted,

t )

'FANNY R. ELLIS, 020747
1289 N. Highland Ave.

 

 

 

P. O. Box 3146 C, _
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with Flule 55 and!or 32(b) FHCrP on 7 020 U

Case 1:05-cr-10036-.]DT Document 22 Filed 07/18/05 Page 2 of 3 Page|D 17

CERTIFICATE OF SERVICE

l certify I have served an exact copy of the foregoing on opposing counsel by mailing,
postage prepaid or by hand delivery
'?//f/ .J

Enter€d thlS ”_L_ day Of_rj-:;i_gk__, 2005
//_, ____H -t_ cs"/__,_,\, ¢-_“:,

“"“”" DANIW R. 'ELLis

 

 

DisTRIC COURT - WESTERN D"'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 1:05-CR-10036 Was distributed by faX, mail, or direct printing on
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Honorable J ames Todd
US DISTRICT COURT

